          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:02CR105-8


UNITED STATES OF AMERICA )
                          )
                          )
         vs.              )                      ORDER
                          )
BRIAN LENARD RANDOLPH     )
                        )


      THIS MATTER is before the Court sua sponte to continue the

resentencing hearing scheduled for Wednesday, March 1, 2006, at 9:00

AM.

      The Court has been advised that the United States Marshal’s Office

did not receive either a hard copy or electronic notification of the Court’s

December 21, 2005, Order setting this case for hearing. As a result, the

United States Marshal has not arranged for the Defendant’s transportation

from his place of incarceration in Ashland, Kentucky, to this District and the

hearing will of necessity have to be rescheduled.

      IT IS, THEREFORE, ORDERED that this matter is continued from

the March 1, 2006, sentencing calendar and is hereby scheduled for




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resentencing on THURSDAY, MARCH 30, 2006, AT 10:30 AM, at the U.S.

Courthouse in Asheville, North Carolina.

     IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of

incarceration to the hearing and return him thereto after resentencing. The

United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.   The Clerk of Court is directed to send copies of this Order to

the Defendant, his counsel, the United States Attorney, the United States

Marshal, and the United States Probation Office.

     IT IS FURTHER ORDERED that the United States Marshal contact

the Clerk’s Office and acknowledge receipt of this Order.



                                           Signed: February 24, 2006




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